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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


UNITED STATES OF AMERICA,

V.                                            CRIMINAL ACTION FILE
                                               1:23-CR-047-MHC-JEM
KRISTOPHER KNEUBUHLER,

            Defendant.


                                    ORDER

      The change of plea in the above-styled case has been scheduled for

Tuesday, September 26, 2023, at 11:30 a.m., in Courtroom 1905, 19th Floor,

United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia.


      It is also ORDERED that the additional time from August 24, 2023, through

September 26, 2023, be excluded pursuant to Title 18, United States Code, Section

3161(h)(7)(A).

      IT IS SO ORDERED and DIRECTED, this the 24th day of August, 2023.




                                     MARK H. COHEN
                                     United States District Judge
